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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 DELANDRA ROBERTSON,                                 Case No. 1:21-cv-00117-EK-RER
 Plaintiff,

 vs.
                                                       STIPULATION OF VOLUNTARY
 SERVICES FOR THE UNDERSERVED,                          DISMISSAL WITH PREJUDICE
 INC., SOLOH PARTNERS, INC.,                          PURSUANT TO FEDERAL RULE OF
                                                       CIVIL PROCEDURE 41(a)(1)(A)(ii)
 Defendants.


       IT IS HEREBY STIPULATED AND AGREED by and between the parties and their

respective counsel that the above-captioned action is voluntarily dismissed with prejudice and

without costs or                                              pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii).

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By:     ________________________               By:     ________________________
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                16 2021
Dated: December __,                            Dated: December 16
                                                               __, 2021

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Dated: December 16
                __, 2021



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